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                            FOR THE DISTRICT OF IDAHO
SEXUALITY AND GENDER ALLIANCE,                Case No. 1:23-cv-00315-DCN

                   Plaintiff,                 APPENDIX TO MOTION FOR

       v.                                     PRELIMINARY INJUNCTION

DEBBIE CRITCHFIELD, et al.,

                  Defendants.




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      Appendix A
Plaintiff-Appellant’s Petition
for Partial Panel Rehearing
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                             No. 23-2807


                UNITED STATES CCURT OF APPEALS
                     FOR THE NINTH CIRCUIT


   REBECCA ROE, by and through her parents and next friends,
 Rachel and Ryan Roe, and SEXUALITY AND GENDER ALLIANCE,

                         Plaintiffs-Appellants,

                                   v.

          DEBBIE CRITCHFIELI), in her official capacity as
        Idaho State Superintendent of Public Instruction, et al.,

                         Defendants-Appellees


  On Appeal from the United States District Court for the District of
                               Idaho
                      No. 1:23-cv-00315-DCN


            PLAINTIFF-APPELLANT'S PETITION FOR
                 PARTIAL PANEL REHEARING


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                            INTRODUCTION

      Plaintiffl respectfully petitions for partial panel rehearing on its

Title IX claim. If permitted to stand, Senate Bill 1100 (SB. 1100) will

require that all Idaho schools exclude all transgender students from

numerous sex-separated facilities consistent with their gender identity,

including multi-occupancy restrooms, changing rooms, and sleeping

quarters for events requiring overnight lodging.

      This Court affirmed the district court's denial of a preliminary

injunction on the narrow ground that Plaintiff has not established

entitlement to relief on a facial challenge to S.B. 1100-that is, it held

that Plaintiff has not shown that S.B. 1100's "mandated sex-segregation

of all covered facilities" is likely invalid. See, et., Op. 21 & n.9

(emphasis added). Consistent with that approach, the Court,

addressing the Equal Protection Clause, held only that certain

applications of S.B. 1100-specifically, to locker rooms and communal

showers-appeared likely to satisfy intermediate scrutiny. Id. at 21, of.

id. at 20 ("Common sense tells us that the communal restroom is a


1 The Court granted Plaintiff Rebecca Roe's voluntary dismissal, leaving
SAGA as the sole Plaintiff-Appellant. Op. 14 n.5. This Petition is thus
brought on behalf of SAGA only. Plaintiff refers to SAGA throughout.
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place where individuals act in a discreet manner to protect their privacy

and those who have true privacy concerns are able to utilize a stall.")

     The Court's Title IX analysis was broader. In sweeping language,

the Court held that Title IX authorizes schools to exclude transgender

students from myriad nonresidential facilities consistent with their

gender identity-including restrooms. Op. 33. The Court did not

ground this holding in § 1681 of Title IX-which bars "discrimination"

on the basis of "sex" and thus protects transgender people from sex-

based harm. See Doe U. Snyder, 28 F.4th 103, 114 (9th Cir. 2022)

(extending reasoning of Bostock U. Clayton Cnty., 590 U.S. 622 (2020) to

Title IX). Nor did it rely on 34 C.F.R. § 106.313, an implementing

regulation of § 1681 that merely affirms that, when sex-separated

facilities are offered, they must be comparable. Op. 32-33.

     Instead, the Court turned to § 1686, which allows schools to

"maintain[] separate living facilities for the different sexes." 20 U.S.C.

§ 1686, see Op. at 32-33, see also Op. 31 n.11 (framing the decision as

turning on the fact that this is the "unusual case in which the statute in

question," that is, §1686, "appears to affirmatively authorize conduct

the funding recipient has engaged in"). The Court held that that

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section does not "unambiguously calrve[] out only living facilities from

Title IX's general mandate and not more intimate spaces such as

restrooms, changing rooms, and communal showers." Op. 38. Relying

on Pennhurst State Sch. and Hosp. U. Halderman, 465 U.S. 89 (1984),

the Court concluded that this purported ambiguity carves out all of S.B.

1100's applications from § 1681.

      The Coulrt's conclusion that § 1686 carves out more than just

"living facilities" is irreconcilable with the plain text of that section.

That section stiraightfoirwairdly applies only to "living facilities." None

of the applications of S.B. 1100, in turn, include "living facilities":

students do not live in non-residential schools. And assuming,

arguendo, that any of S.B. 1100's applications-such as overnight

lodging for school-authorized activities-could fall within the scope of

"living facilities," restrooms in a non-residential school clearly cannot.

      To the degree the Court relied on historical expectations of

legislators in 1972 to create ambiguity in otherwise clear text, that

approach is foreclosed by precedent. Op. 33 n.15. The Spending Clause

matters only when the text of an anti-discrimination statute is

ambiguous, historical expectations cannot supersede a statute's clear

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text or create textual ambiguity where there is none. See Arlington

Cent. Sch. Dist. Bd. of Educ. U. Murphy, 548 U.S. 291, 304 (2006). To

hold otherwise would contradict the Supreme Coulrt's holding in

Bostock-extended by this Court to Title IX-that historically expected

or assumed applications cannot add exceptions to an anti-

discrimination statute's otherwise clear text. See Grabowski U. Arizona

Bd. of Regents, 69 F.4th 1110 (9th Cir. 2023) (applying Bostock's logic to

Title IX).

      The Coulrt's Title IX analysis is thus incorrect. And at a

minimum, it is oveirbiroad. To affirm the district court on Plaintiffs

facial challenge, the Court need only identify one application of S.B.

1100 that may be permissible. See Op. 21, of. id. at 11 (listing overnight

facilities as an application of S.B. 1100). The Court's holding at this

stage of the litigation that §1686 applies to all of S.B. 1100'3

applications, including restrooms, Op. at 33, is unsupported by § 1686's

plain text, creates clear tension with Supreme Court and circuit

precedent, and unnecessarily places the Ninth Circuit in conflict with

the Fourth and Seventh Circuits on Title IX's application to restrooms.

Grimm U. Gloucester Cnty. Sch. Bd., 972 F.3d 586, 607 (4th Cir. 2020),


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A.C. by MC. U. Metro. Sch. Dist. of lllartinsville, '75 F.4th 760, 770 (7th

Cir. 2023). Plaintiff respectfully asks the Court to reverse the district

court or, in the alternative, narrow its Title IX holding.

                               STANDARD
      Panel rehearing is appropriate when the petitioner can show that

the Court has "overlooked or misapprehended" some "point of law or

fact." Fed. R. App. P. 40(a)(2), see also United States U. Mageno, 786

F.3d 768, 774 (9th Cir. 2015).

                              ARGUMENT
     The Coulrt's Title IX analysis involved three statutory and

regulatory provisions: 20 U.S.C. § 1681 (which prohibits discrimination

on the basis of sex), 34 C.F.R. § 106.33 (which implements § 1681 and

mandates, inter alia, that separate toilets be comparable), and 20

U.S.C. § 1686 (a carveout to § 1681 that allows schools to "maintain[]"

sex-separated "living facilities"). The first two of these provisions, the

Court recognized, do not support S.B. 1100, whether analyzed under

Pennhurst or not. And the Coulrt's holding that § 1686 goes beyond

"living facilities" simply cannot be reconciled with the plain text of that

provision.


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1.    Section 1681 Does Not Authorize S.B. 1100's Mandate that
      Idaho Schools Discriminate on the Basis of Sex.
      Section 1681 of Title IX provides that "[n]o person in the United

States shall, on the basis of sex, be ... subjected to discrimination

under any education program or activity receiving Federal financial

assistance ...." 20 U.S.C. § 1681. The Court correctly declined to rule

that § 1681'3 core anti-discrimination provision authorizes excluding

transgender students from restrooms matching their gender identity-

which is plainly "discrimination" "on the basis of sex.79




      Although Defendants wrongly argued that Plaintiffs Title IX

claim rose and fell on the meaning of "sex" in Title IX, Answering Brief

at 38, the Court did not hold that it was necessary to decide the precise

meaning of that word in analyzing Plaintiffs constitutional or statutory

claims. Op. 28. That is undoubtedly true ofl§ 1681: Even assuming

that "sex" means "sex assigned at birth," Title IX, like Title VII, plainly

prohibits discrimination against transgender people on that basis.2 See

Bostock, 590 U.S. at 655-57. For instance, a transgender boy may not


2
 Plaintiff developed this and related arguments below. See, e.g., ECF
50 at 18-23. Because Defendants' Spending Clause argument was
raised as a defense to Plaintiffs Title IX claim, the principal response
thereto was necessarily on reply.
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use the boys' restroom under S.B. 1100 because of his sex assigned at

birth, while other boys can. Similarly, this Court recognized, in

analyzing Plaintiffs equal protection claim, that "S.B. 1100

discriminates ... on the basis of sex," which is true even if sex is viewed

solely as one's birth-assigned sex. Op. 17.

     The Court made the same general observations in the Title IX

context, reaffirming that a law that treats transgender persons

differently (and worse) necessarily discriminates on the basis of sex.

Op. 27-28 (citing Grabowski and Doe). Discrimination on the basis of

sex is just what § 1681 pirosciribes, so nothing in that provision can save

S.B. 1100.

     Supreme Court and Ninth Circuit precedent confirm this

conclusion. Bostock notably proceeded from the premise that the term

"sex" referred to "biological distinctions between male and female" and

expressly refrained from addressing any broader meaning of "sex." 590

U.S. at 655. Any ambiguity in the wolrd's definition was thus irrelevant,

the Supreme Court held, as a matter of plain meaning, that

discrimination "because of sex" necessarily includes discrimination

based on transgender status. Id. at 657-59.

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      Consistent with Bostock, this Court confirmed in Grabowski that

the "same result" logically applies under Title IX. Grabowski, 69 F.4th

at 1116. It did not matter that Title IX, unlike Title VII, was enacted

under Congress's Spending Clause authority, Title IX's prohibition on

sex discrimination plainly reaches discrimination on the basis of sexual

orientation. Id., see also Grimm, 972 F.3d at 619 n.18 ("Bostock

forecloses that 'on the basis of sex' is ambiguous as to discrimination

against transgender pelrsons").

     There is thus no question that S.B. 1100 "disclrimin[ates]" "on the

basis of sex" within the plain meaning off 1681. 20 U.S.C. § 1681(a).

The Court did not point to any textual ambiguity in § 1681 that, viewed

in light of the Constitution's Spending Clause, might alter this

conclusion. As the Court recognized, because § 1681, standing on its

own, cannot save S.B. 1100, the question is whether a carveout applies.

op. 31 n.11.3




3
 Defendants agreed. See Answering Brief at 49 ("Whether [S.B. 1100's]
designation constitutes discrimination that would otherwise violate
Title IX (it does not) is beside the point. What matters is whether S.B.
1100 fits into Title IX's carve-out for sex-specific facilities." (citations
and internal quotations omitted)).
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11.    Regulations Implementing § 1681 Do Not Authorize S.B.
       1100's Mandate that Idaho Schools Discriminate on the
       Basis of Sex.
       The Court also rejected Defendants' invitation to hold that

regulations implementing § 1681 operate as carveouts allowing federal

funding recipients to exclude transgender students from restrooms

matching their gender identity, even where such exclusion is

"discrimination" under Section 1681. Op. 32, id. at 33 (explaining that,

"though we agree with SAGA that § 106.33 implements § 1681," the

Coulrt's holding was based on its conclusion that the distinct statutory

cairveout in § 1686 did not "unambiguously calrve[] out only living

facilities") .

       That conclusion is correct. 34 C.F.R. § 106.33, which, unlike

§ 1686, addresses "toilet, locker room, and shower facilities," is an

implementing regulation of § 1681-which sets out Title IX's general

prohibition against discrimination-not § 1686. See Op. 32. As the

Court explained, "Section 106133, entitled 'Comparable facilities,)

requires that, if a recipient of federal funding provides separate toilet,

locker room, and shower facilities on the basis of sex, the facilities must

be comparable." Id. "In this way," the Court concluded, "§ 106.33


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extends § 1681's protections against sex-based discrimination rather

than expanding the scope of § 168(-3's carve out." Id., see also A.C., '75

F.4th 760 at 770.

     Plaintiff agrees. To the extent that § 106.33 contemplates the

general permissibility of separate boys' and girls' restrooms, it simply

reflects the federal government's understanding that excluding a

student from a restroom designated for another sex does not, as a

general rule, cause that student sex-based harm. Cf. Oncale U.

Sundowner Offshore Servs., Inc., 523 U.S. 75, 81 (1998) (Title VII does

not reach non-harmful "differences in the ways men and women

routinely interact with" each other). In other words, these regulations

recognize that § 1681'3 prohibition against sex-based "discrimination"

(20 U.S.C. § 1681(a), emphasis added)-which reaches only "distinctions

or differences in treatment that injure protected individuals," see

Bostock, 590 U.S. at 681 (quoting Burlington N & Santa Fe Ry. Co., 548

U.S. 53, 59 (2006))-does not prohibit the maintenance, in general, of

separate girls' and boys' restrooms in a manner that inflicts no sex-

based harm. The regulations do not carve out discriminatory policies-

including those that would exclude transgender students from using

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restrooms that align with their gender identity-from Section 1681's
ambit .

     That conclusion also comports with the principle that regulations

cannot contradict the statutes they purport to implement. Op, 32

(acknowledging Plaintiffs argument that "an implementing regulation

cannot be read to authorize conduct prohibited by statute," and

explaining that the Court does "not see a contradiction between Title IX

and § 106.33"). Indeed, under Loper Bright Enters. U. Raimondo, a
court cannot even defer to an agency's interpretation of the law when a

statute is ambiguous. 603 U.S. 369, 371 (2024). Section 106.33 cannot

be used to create a regulatory exception for statutorily-proscribed

discrimination where nothing in the plain text of Section 1681

contemplates any carveout. Nor does Pennhurst change that result.
Were it otherwise, an agency could use Pennhurst as a work-around to

Loper Bright, promulgating, for instance, a regulation that authorizes

clear sexual-orientation discrimination under Title IX SO that states

could cite that regulation as eroding any notice of the sweep of the text's

anti-discrimination mandate. The Court rightly did not hold as much.



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111.    The Court Erred in Holding that § 1686 Authorizes Sex-
        Based Discrimination Beyond Living Facilities.
        Recognizing that § 1681 and its associated regulations cannot

support S.B. 1100, the Court relied instead on § 1686, which it

characterized as a statutory "carve-out" to Section 1681's anti-

discrimination rule. Op. 32, see also id. at 31 n.11 (holding that "the

statute in question appears to affirmatively authorize conduct the

funding recipient has engaged in"). Section 1686 provides that

educational institutions may maintain "separate living facilities for the

different sexes." 20 U.S.C. § 1686. Relying on Pennhurst, the Court

identified two aspects of § 1686 it suggested were ambiguous. It first

explained that the reference to "sex" in the carveout-and Title IX

generally-did not unambiguously mean something other than "sex

assigned at birth." See Op. 30. It then turned to the scope of § 1686'3

carveout. The Court held that that section does not "unambiguously

carve [] out only living facilities from Title IX's general mandate and not

more intimate spaces such as restrooms, changing rooms, and

communal showers." Op. 33 (emphasis in original).

        The Coulrt's holding that § 1686 is ambiguous as to its scope is

simply not sustainable under the plain text of that provision. Section

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1686 provides, in its entirety, "[n]otwithstanding anything to the

contrary contained in this chapter, nothing contained herein shall be

construed to prohibit any educational institution receiving funds under

this Act, from maintaining separate living facilities for the different

sexes." 20 U.S.C. § 1686. The text unambiguously applies only to

"living facilities." And the Court identified nothing in § 1686's text to

support its holding that the same provision carves out discrimination on

the basis of sex assigned at birth in facilities that are not "living

facilities." See Roselin U. United States, 270 U.S. 245 (1926) ("To supply

omissions transcends the judicial function.") .4

      Nor did the Court hold that the term "living facilities" might be

read to include any school restroom-or other "intimate" spaces.



4 The doctrine of expressio units is not necessary to conclude that
Section 1686 means what it says-that is, that it creates no exception to
§ 1681 for discrimination in restrooms. Cf. Op. 33 n.15. The plain text
of § 1686 only carves out "living facilities." Nor is it necessary to rely on
expressio units to create a negative inference, based on § 1686, that
discrimination in other spaces must be prohibited under Title IX. As
noted above, § 1681 creates that prohibition, and it includes nothing in
its text to support the conclusion that disparate treatment on the basis
of sex is permissible where it causes harm. In other words, § 1681
broadly prohibits sex-based discrimination, and § 1686-the
"affirmative[] authoriz[ation]" at issue here (Op. 31 n.11)-is plainly
limited to "living facilities."
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Contemporaneous dictionaries defined "living," in its relevant sense, as

"applroplriate, designed, or adequate for living," and to "live" as "to

occupy a home: DWELL, RESIDE." Webster's Third New International

Dictionary 1323-24 (1968). The plain meaning of "living facilities," in

turn, is facilities where people "1iv[e]," such as student dormitories-not

any facility deemed "intimate" Cf. Op. 33.5 Indeed, the Coulrt's

statement that § 1686 does not "unambiguously calrve[] out only living

facilities from Title IX's general mandate and not more intimate spaces

such as restrooms, changing rooms, and communal showers,"

acknowledges that "1restlrooms, changing rooms, and communal



5
  Contemporaneous usage confirms that, in the decade in which Title IX
was passed, as today, "living facilities" were essentially residential and
distinguished from other spaces on that basis. Fig., Man's House
Vanishes As He Eats Breakfast, N.Y. TIMES (Nov. 5, 1972),
https://www.nytimes.com/1972/11/05/archives/mans-house-vanishes-as-
he-eats-breakfast.html ("MaX Hannon ... said he was providing him
with living facilities until he finds a new home."), Alan S. Oser, About
Real Estate, N.Y. TIMES (Oct. 14, 1977), https://www.nytimes.com/19'7'7/
10/14/archives/about-real-estate-renovation-on-riverside-drive -
cooperatives-in-an.html ("When the Jesuits came in 1948 they made
renovations to use the property as one building with living facilities on
one side and the chapel and study rooms on the other."), Samuel Weiss,
SUNY Plant Needs a Physical, N.Y. TIMES (Nov. 11, 1979),
https://www.nytimes.com/1979/11/11/archives/suny-plant-needs-a-
physical.html ("The university ... has increased its dormitory fee by
$50 to help refurbish student living facilities.") .
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showers" are not "living facilities." Op. 33 (emphasis in original).

     The support the Court identified for its conclusion that § 1686

does not "unambiguously calrve[] out only living facilities" was not in

text, but in history. The Court opined that "in 1972 the separation of

these facilities on the basis of sex was so assumed that it did not merit

special mention in the text of the statute." Op. 33 n. 15. But it is the

"text of the statute"-not historical assumptions-that governs. Even if
Congress actually considered and assumed that excluding transgender

students from restrooms on the basis of their sex assigned at birth

would be lawful, §1686 does not say that.6 And historical expectations


6 It is not apparent that all of Congress, in 1972, would have assumed
that excluding transgender students from facilities that align with their
gender identity was lawful when they could show doing so caused them
harm-or even that Congress would have understood enough to
consider the question. Plaintiff agrees that Congress would generally
have understood that separate boys' and girls' restrooms are
permitted-just as Plaintiff agrees that Title IX indeed authorizes such
general, non-harmful sex-separation. But no historical expectations, or
statutory carveouts, are necessary to achieve that result: Section 1681,
as noted, does not bar non-harmful sex-separation, and separate
facilities for the sexes does not ordinarily cause sex-based harm. See
infra at p. 10. Section 1686 is unnecessary to preserve that
arrangement through a carveout-and there is no reason to assume
Congress intended § 1686 to do so. Indeed, if a carveout like § 1686
were necessary to validate such restrooms under Title IX, then Title
VII-whose operative language is similar but contains no analogous

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about how the law would be applied (or here, to which facilities) do not

change or override plain text. Bostock, for instance, rejected at length

the argument that Congress could not possibly have expected a law

passed in 1964 would protect gay and transgender people. 590 U.S. at

653 ("Only the written word is the law, and all persons are entitled to

its benefit."). Relying on the statute's "expected applications" or

"legislative intent" to curb its reach was an "impelrmissib1[e]" attempt

"to displace the plain meaning of the law in favor of something lying

beyond it." Id. at 675.

     The same is true of policy considerations generally. A desire to

change the text of a statute to better accomplish a belief about

Congress's presumed policy objective "cannot override" plain statutory

text. Muldrow U. City of St. Louis, 601 U.S. 346, 357-58 (2024)

(explaining that even if the "worst predictions come true, that would be

the result of the statute Congress drafted"). "The problem with this

approach is the one that inheres in most incorrect interpretations of

statutes: It asks us to add words to the law to produce what is thought



carveout-would logically prohibit all sex-separated restrooms in
workplaces. 42 U.S.C. § 2000e-2(a).
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to be a desirable result. That is Congress's province." E.E. O. C. U.

Abercrombie & Fitch Stores, Inc., 575 U.S. 768, 774 (2015). The word

that Congress used-"living" facilities-cannot be nullified.

      Pennhurst's notice requirement is no exception to these rules: it

requires the existence of ambiguity in the statute's text. See Pennhurst,

451 U.S. at 17, Arlington, 548 U.S. at 304 ("In a Spending Clause case,

the key is not what a majority of the Members of both Houses intended

but what the States are clearly told regarding the conditions that go

along with the acceptance of those funds."), Sch. Dist. of City of Pontiac,

584 F.8d at 294 (Sutton, J., concurring) ("The Pennhurst clear-

statement rule turns on textual ambiguity, not ambiguity in the

legislative history.... [I]f there is no such ambiguity, there is nothing

for the legislative history to clalrify."), of. United States U. Nordic Viii.

Inc., 503 U.S. 30, 37 (1992) ("legislative history has no bearing on the

ambiguity point" for purposes of a clear-statement rule). And "the fact

that [a statute] has been applied in situations not expressly anticipated

by Congress does not demonstrate ambiguity" in the text, "it simply

demonstrates [the] breadth of a legislative command." Bostock, 590

U.S. at 674 (quoting Sedona, S. P. R. L. U. lurex Co., 473 U. S. 479, 499


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(1985) (cleaned up)), see also A. Scalia & B. Garner, Reading Law: The

Interpretation of Legal Texts 101 (2012) (unexpected applications reflect

only Congress's "presumed point [to] produce general coverage-not to

leave room for courts to recognize ad hoc exceptions") .

     To use historical expectations to create new exceptions under

§ 1686 that are not there is not only error, it is in tension with this

Coulrt's decision in Grabowski. That case paid no more heed than

Bostock to background cultural expectations about what sorts of sex-

based claims Title VII and Title IX might permit-even though

Grabowski involved Spending Clause legislation.7 Other courts, in

holding that Title IX indeed bars discrimination against transgender

students in the context of sex-separated restrooms, agree. See Grimm,

972 F.3d at 619 n.18, A.C., '75 F.4th at 769, of. B.P.J. by Jackson U. WE

Virginia State Bd. of Educ., 98 F.4th 542, 564 (4th Cir. 2024).

     In short, the enactors of Title IX barred "discrimination" "on the




7 Logically, there are also not different standards for ambiguity
depending on whether statutory text addresses what it prohibits or
what it does not prohibit, which are two sides of the same coin. Cf. Op.
31 n.11. But here, the distinction would not matter, because § 1686
simply does not carve out anything but sex-separated "living facilities."
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basis of sex." 20 U.S.C. § 168l(a). S.B. 1100 discriminates against

transgender students on the basis of sex, and the carveout in Section

1686 does not match the range of facilities regulated by S.B. 1100.

Congress may not have anticipated every scenario where § 1681 would

apply. But to use historical expectations to create statutory carveouts

that do not exist would undermine the reach of Title IX and other

crucial anti-discrimination statutes for those who need them the most.

This case illustrates precisely that. If § 1686 is not limited to "living

facilities," then it is not clear what it is limited to. If historical

expectations can create carveouts from statutory silence, as the Court

effectively holds, see Op. 33 n.15, then there is no reason § 1686 must

stop at restrooms and changing facilities either.

IV. The Court's Holding is Overbroad at a Minimum.
      Because S.B. 1100's applications do not apply to "living facilities,  79




Plaintiff is likely to succeed in its facial challenge to Title IX. But if this

Court concludes otherwise, it should at a minimum narrow the scope of

its Title IX holding. Only S.B. 1100's application to "sleeping quarters,    79




to the extent one viewed students as temporarily "living" in hotels for

school trips, for instance, even arguably has anything to do with


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§ 1686's single focus on spaces where students live. And under the

Court's understanding of Plaintiffs facial challenge, there is no reason

to go any further. Op. 16. Even were the Court to conclude that

additional applications of S.B. 1100 could arguably constitute "living

facilities," it should not hold that restrooms fall within the scope of that

term. See id. at 21.

      A narrower holding would also resolve this appeal without

creating a conflict between this Circuit and the Fourth and Seventh

Circuits, which addressed injunctions encompassing only the use of

bathrooms and, in the case ofA.C., stalls in locker rooms. See Grimm,

972 F.8d at 601, A.C., 75 F.4th at 772. And it would provide § 1686 a

limiting construction that would avoid its becoming-in the hands of

countless public officials-a vast carveout that could be used to justify

policies, or regulations, that do extraordinary harm to transgender

students.

                             CONCLUSION
      Plaintiff asks the Court to reconsider-or at a minimum, narrow-

its holding that Plaintiff is not likely to succeed in showing S.B. 1100

violates Title IX.


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Dated: April 10, 2025                  Respectfully submitted,

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